§AO 440 (Rev'lO/%a§u§n§c:n%-acc\{;i ple§gS-O Document 2 Fl|eo| 10/01/07 Page 1 of 2 PagelD 19

UNITED STATES DISTRICT CoURT

 

 

NORTHERN District of TEXAS - DALLAS DIVISION
LORI MARTIN,
SUMMONS IN A CIVIL CASE
Plaintiff,
V.

UT SOUTHWESTERN MEDICAL
f CENTER,
CASE NUMBEIB

"070V1663-R

Defendant.

TOI (Name and address of Defendant)

UT Southwestern Medical Center

c/o Kem Wildenthal, M.D., Ph.D., President
5323 Harry Hines Blvd

Dallas, Texas 75390-9002

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address)

Steven K. DeWolf, Esq.

Barbara L. Emerson, Esq.

Bellinger & DeWolf, LLP

lOOOO N. Central Expressway., Suite 900
Dallas, Texas 75231

an answer to the complaint which is herewith served upon you, within 20 days after service of this
summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint You must also file your answer with the Clerk of this Court within a reasonable
period of time after service.

CLEHK oF coum '
CLERK ' """"

, s '~ we omun
M

 

 

 

gm 440 (Rev_ logg§gm§qg)gs?ir;%i-`QJAQQ§-O Document 2 Filed 10/01/07 Page 2 of 2 Page|D 20

 

 

 

RETURN OF SERVICE
DATE
Service of the Sumrnons and complaint was made by mem
NAME OF SERVER (PRIND TITLE

 

 

Check one box below to indicate appropriate method of service

 

[l Served personally upon the defendant Place where served:

 

 

l:| Left copies thereof at the defendant’s dwelling house or usual place of abode With a person of suitable age and
discretion then residing therein.

Name of person with Whom the summons and complaint were left:

 

l:| Return ed unexecuted:

 

 

 

El Other (specify):

 

 

 

 

STATEMENT OF SERVICE FEES

 

TRAVEL SERVICES TOTAL

 

 

 

DECLARATION OF SERVER

 

l declare under penalty of perjury under the laws of the United States of America that the foregoing information
contained in the Retum of Service and Statement of Service Fees is true and correct.

Executed on

 

Date Signature of Server

 

Address of Server

 

 

 

(l) As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure.

 

